                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

                              CRIMINAL MINUTES – JURY TRIAL
                                                    Day 2

  Case No.: 4:18CR00011                                        Date: 10/8/2019


  Defendant:                                                Counsel:
  4:18-cr-00011-MFU-RSB-1 Marcus Jay Davis                  Tony Anderson, Bev Davis
  4:18-cr-00011-MFU-RSB-2 Kevin Lamont Trent, Jr.           Aaron Cook, Jimmy Turk
  4:18-cr-00011-MFU-RSB-3 Kanas Lamont'e Trent              Bonnie Lepold, Mike Hemenway
  4:18-cr-00011-MFU-RSB-4 Deshaun Lamar Trent               Chris Kowalczuk, Patrick Kenney
  4:18-cr-00011-MFU-RSB-5 Phillip Daekwon Miles             Tyson Daniel, Cary Bowen
  4:18-cr-00011-MFU-RSB-6 Shabba Larun Chandler             Aaron Houchens, Jeff Dorsey
  4:18-cr-00011-MFU-RSB-8 Ashley Tiana Ross                 Terry Grimes
  (bond)
  4:18-cr-00011-MFU-RSB-10 Tenikqua Fuller (bond)           Corey Diviney




  PRESENT:       JUDGE:                   Michael F. Urbanski, CUSDJ
                 TIME IN COURT:           9:18-11:37; 12:00-12:42; 1:46-3:55; 4:10-6:48; 6:59-8:06
                                                           8h 55m
                 Deputy Clerk:            Kristin Ayersman
                 Court Reporter:          Judy Webb
                 U. S. Attorney:          Heather Carlton, Ron Huber, Michael Newman
                 USPO:                    Kim Falatic
                 Case Agent:              Devin Taylor, FBI, Officer
                 Interpreter:             none


                                         LIST OF WITNESSES

      GOVERNMENT                                            DEFENDANT
    1.                                                 1.




  PROCEEDINGS:
  Panel 3- Jurors enter courtroom 9:40. Collective voir dire. Recess 11:37 Reconvene 12:00.
  Collective voir dire continued. Recess 12:42 Reconvene 1:46 Individual voir dire. Recess 3:55
  Reconvene 4:10 Court and parties address issue of agreed strikes. Individual voir dire continues.



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  Recess 6:48 Reconvene 6:59 Court addresses counsel/parties – voir dire will end at 5:30pm
  tomorrow and thereafter. Court will start at 9:30am. Court addresses dft participation in bench
  conferences – dfts shall remain seated. Challenges for cause. Court asks OCR to forward rough
  copy of Juror 19 to deal with tomorrow. Review of strikes. Dft 4 readdresses the two jurors
  TUA yesterday, opposition from other dfts. Court will conduct voir dire from 9:30am to 5:30pm
  on 10/9 – and considering conducting all voir dire by court. Parties to be in and ready to go prior
  to 9:30am.

         19 struck jurors struck for cause. 1 juror TUA.
         # struck jurors struck by Government.
         # struck jurors struck by Defendant.
         # jurors sworn member jury impaneled and sworn. Remaining jurors discharged.
         Preliminary remarks and instructions to jury by Court.
         United States of America or Defendant makes oral Motion to Exclude Witnesses from
         Courtroom. Court grants motion.
         Opening Statements by counsel.
         Government presents evidence.
         Government rests.
         Defendant makes Motion for Judgment of Acquittal.
         Court      grants     denies     takes under advisement.
         Defendant presents evidence.
         Defendant rests.
         Defendant renews Motion for Judgment of Acquittal.
         Court      grants     denies     takes under advisement.
         Rebuttal evidence.
         Surrebuttal evidence.
         Closing Arguments.
         Jury Instructions given to Jury.
         Objections to Jury Instructions by U.S.A and/or Defendant.
         Court      overrules     grants.
         Jury retires to deliberate at Time retired.
         Jury returns at Time returned.
         Jury Verdict: Verdict?
                 Jury polled.                           Polling waived.
                 Mistrial declared.                     Jury discharged.

         Motions after verdict:
         Sentencing set for ______..
         Sentencing to be set by Clerk.
         Court orders Presentence Report.
         Defendant remanded to custody.
         Defendant to remain on bond.


  Additional Information:
  Court vacates retention of two jurors from 10/7/19 and takes them under advisement.




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